JS 44 (Rev 10/20)          Case: 3:23-cv-01702-JRK              CIVIL  DocCOVER#: 1-2 Filed:  SHEET   08/30/23 1 of 2. PageID #: 10
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court This form, approved by the Judicial Conference ofthe United States in September 1974, is required for the use ofthe Clerk ofCourt for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONSON NEXTPAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                   DEFENDANTS
         Alexander R. Glasgow                                                                                       General Electric Company. GE Renewable Energy. GE
         205 Palmer Ln, Bryan OH 43506                                                                              Vemova.
  (b) County of Residence of First Listed Plaintiff               Williams                                          County of Residence of First Listed Defendant                  Suffolk
                               (EXCEPTIN U.S. PUINTIFF CASES)                                                                                   ON U.S. PIAINTIFF CASES ONLY)
                                                                                                                    NOTE:           IN LAND CONDEMNATION CASES. USE THE LOCATION OF
                                                                                                                                    THE TRACT OF LAND INVOLVED.

  (C) Attorneys(Flm Name, Address, and Telephone Number)                                                            Attorneys (ifKnown)

                                                                                                                    MIcheal A. Chichester -
                                                                                                                    200 Renaissance Center Suite 3110 Detroit, Ml 48243

11. BASIS OF JURISDICTION (Place an "X"in One Box Only)                                           III. CITIZENSHIP OF PRINCIPAL PARTIES(Placean "X"in One Boxfor Plaintiff
                                                                                                         (Far Diversity Cases Only)    and One Boxfor Dffendani)
I 11 U.S. Govenunent                fT)3 Federal Question                                                                                       PTE     DEF                                               PTF      DEF
         Plaintiff                              (U.S. Government Not a Parry)                           Citizen of This Slate               □l         □ 1 Incorporated or Principal Place                Q4       ^4
                                                                                                                                                                   of Business In This State


f~|2 U.S. Govcmment                        Diversity                                                    Citizen of Anodier State                                Incorporated and Principal Place          □ 5      Qs
         Eiefendant                             (Indicate Cilixenship ofParties in Hem III)                                                                        of Business In Another State

                                                                                                        Citizen or Subject of a             |~| 3      Q 3      Foreign Nation                            □ 6
                                                                                                             Foreign Coun

IV. NATURE OF SUIT (Place an "X" in One Box Only)                                                                                                Click here for: Nature of Suii Code Descriptions.
                                                                TORTS                                        FORFEITURE/PENALTY                            BANKRUPTCY
          CONTRACT
   110 Insurance                      PERSONAL INJURY                   PERSONAL
                                                                        F        INJURY                      625 Dnig Related Seizure                 422 Appeal 28 USC 158             375 False Claims Act
                                      310 Airplane                  r~|
                                                                    Fl 365
                                                                        3< Personal Injury -                     of Property 21 USC 881               423 Willidrawal                   376 Qui Tarn (31 USC
_ 120 Marine                                                                                                                                                                                   3729(a))
                                                                                                             690 Other                                     28 USC 157
_ 130 Miller Act                      315 Airplane Product                   Product Liability
                                           Liability                Q 367
                                                                      3^ Health Care/                                                                                                   400 State Reapportionment
   140 Negotiable Instrument
                                                                                                                                                                                        410 Antitrust
_ 150 Recovery of Overpayment         320 Assault, Libel &                   Pharmaceutical
                                                                                                                                                                                         430 Banks and Banking
                                                                             Personal Injury                                                          820 Copyrights
      & Enforcement of Judgment|           Slander
B151 Medicare Act                     330 Federal Employers'
                                          Liability
                                                                             Product Liability                                                        830 Patent
                                                                                                                                                      835 Patent - Abbreviated
                                                                                                                                                                                         450 Commerce
                                                                                                                                                                                         460 Deportation
   152 Recovery of Defaulted                                        □ 368 Asbestos Personal                                                                New Drug Application          470 Racketeer Influenced and
        Student Loans                 340 Marine                             Injury Product
                                                                             Liability                                                                840 Trademark                            Corrupt Organizations
        (Excludes Veterans)           345 Marine Product
                                                                                                                                                      880 Defend Trade Secrets           480 Consumer Credit
[~| 153 Recovery of Overpayment            Liability                  PERSONAL
                                                                      PEl      PROPERTY
                                                                                                                                                                                             (15 USC 1681 or 1692)
                                                                                                             710 Fair Labor Standards                      Act oF2016
       of Veteran's Benefits          350 Motor Vehicle             __ 370
                                                                       3 Other Fraud                                                                                                     485 Telephone Consumer
 _ 160 Stockholders'Suits             355 Motor Vdiicle             _ 371
                                                                    _  3 Truth in Lending                          Act
                                                                                                              720 Labor/Management                                                             Protection Aa
   190 Other Contract                      Product Liability         ~ 13380 Other Personal
                                                                                                                                                       861 HIA(1395ff)                   490 Cable/Sal TV
 " 195 Contract Product Liability     360 Other Personal                     Property Damage                       Relations
                                                                                                              740 Railway Labor Act                    862 Black Lung (923)              850 Securities/Commodities/
    196 Franchise                          Injury                   IIF!1385
                                                                         3 Property £>amage                                                                                                    Exchange
                                       362 Personal Injury -                 Product Liability                751 Family and Medical                   863 DIWC/DIWW (405(g))
                                                                                                                   Leave Act                           864 SSID Title XVI                890 Other Statutory Actions
                                           Medical Malpractice
                                                                                                              790 Other Labor Litigation               865 RSI (405(g))                  891 Agricultural Acts
        IfimECIiHaaSl                   | i| i|i'i II 1 1 >1 —li 'I           I'laTiaa-mrn^T.!                                                                                          I 893 EnvironmentaJ Matters
    210 Land Condemnation              440 Other Civil Rights           Habeas Corpus:                       J791 Employee Retirement
                                                                                                                   Income Security Act                                                  I 895 Freedom of Information
    220 Foreclosure                   441 Voting                        463 Alien Detainee
                                                                                                                                                       870 Taxes (U.S. Plaintiff               Act
    230 Rent Lease & Ejectment      ■ 442 Employment                    510 Motions to Vacate
                                    _ 443 Housing/                           Sentence                                                                      or Defendant)                I 896 Arbitration
    240 Torts to Land
                                           Accommodations               530 General                                                                    871 IRS—^Third Party             I 899 Administrative Procedure
    245 Tort Product Liability                                                                                                                                                                 Act/Review or Appeal of
                                                                                                                                                            26 USC 7609
                                      1445 Amer. w/Disabililies •       535 Death Penalty
    290 All Other Real Property
                                           Employment                   Other:                               !462 Naturalization Application
                                                                                                              465 Other Immigration
                                                                                                                                                                                               Agency Decision
                                                                                                                                                                                        I 950 ConstitutioQality of
                                    ~| 446 Amer. w/Disabilities •       540 Mandamus & Other
                                                                                                                                                                                               State Statutes
                                           Other                        550 Civil Rights                           Actions
                                    ~1448 Education                     555 Prison Condition
                                                                        560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
 W. O^Gl^ (Placean "X" in One Box Only)                                                                                                               ^^
                                                                                                                                                                                                q8 Multidistnct
 I—ll Original           r~l2 Removed from                pi 3 Remanded from                     pi4 Reinstated or Q 5 Transferred fi^m Q6 Multidistnct                                                   Litigation -
      Proceeding              State Court                      Appellate Court                       Reopened          Another
                                                                                                                       (specify)
                                                                                                                                 District  LiUgat^ton-
                                                                                                                                           Transfer                                                       Direct File

                                       " Cite the U S Civil Statute under which you are fi ling (Do not citejurlsdielianalstatutes unless dlversHy):
                                         TW.wtfg«CMW»a«icrna«.Ta»i8»c«na4t«r.)?<.ftg»nw«.u5ei»w«2a3t.Th«oi,.,»iMi'>wnei-«ra8.<«if«aai9ni.)«»yniu»(wiyet»«i»

 VI. CAUSE OF ACTION Brief description of cause:
                     tier ewgew WM Uliuwa w* W oe                                 wd R«e^>» DieniwiElian c     1     lh« ufiawlil      601««.         tmownploy"* «•>«


                                                                                                              DEMAND S                                        CHECK YES only if demanded in complant;
 VII. REQUESTED IN                      □ CHECK IF THIS IS A CLASS ACTION
         COMPLAINTt                             UNDER RULE 23, F.R.Cv.P.                                      3,000,000                                       JURY DEMAND:                   □ Yes         □ No

 VIII. RELATED CASE(S)
               » XIX/                       (See instructions):                                                                                         DOCKET NUMBER
          IF ANY                            '                         JUDGE
                                                                         SIGNATURE OF ATTORNEY OF RECORD



  FOR OFFICE USE ONLY

                                                                              APPLYING IFP
                                                                                                                                                                          MAG. JUDGE
Case: 3:23-cv-01702-JRK Doc #: 1-2 Filed: 08/30/23 2 of 2. PageID #: 11
